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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


DEMETER TECHNOLOGY, LLC,,

     Plaintiff,
                                                        CIVIL ACTION NO. 2:10-cv-00209-TJW
     v.
                                                        JURY TRIAL DEMANDED
FUJITSU COMPUTER PRODUCTS OF
AMERICA, INC., et al.,

     Defendants.



                          ORDER OF DISMISSAL WITH PREJUDICE

          CAME ON THIS DAY for consideration of the Stipulated Motion for Dismissal with

Prejudice of all claims and counterclaims asserted between plaintiff, Demeter Technology, LLC,

and defendant, Ricoh Americas Corp., in this case, and the Court being of the opinion that said

motion should be GRANTED, it is hereby

          ORDERED, ADJUDGED AND DECREED that all claims and counterclaims asserted in

this suit between plaintiff, Demeter Technology, LLC, and defendant, Ricoh Americas Corp., are

hereby dismissed with prejudice, subject to the terms of that certain agreement entitled

"PATENTS IN SUIT SETTLEMENT AGREEMENT" and dated July 29, 20ll.

          It is further ORDERED that all attorneys' fees and costs are to be borne by the party that

incurred them.
       SIGNED this 29th day of September, 2011.



                                               __________________________________________
                                               T. JOHN WARD
                                               UNITED STATES DISTRICT JUDGE

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